  USCA11 Case: 21-11565                     Document: 39             Date Filed: 09/25/2023                Page: 1 of 1

                                           United States Court of Appeals
                                                   Eleventh Circuit
                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303

David J. Smith                                                                         In Replying Give Number
Clerk                                                                               Of Case and Names of Parties
                                                   September 25, 2023

NOTICE TO COUNSEL OR PARTIES IN CASES LISTED BELOW:

The following cases are scheduled for oral argument during the week of JANUARY 22, 2024, IN
MIAMI, FLORIDA. COURT WILL BE HELD TUESDAY-FRIDAY OF THIS WEEK.
COUNSEL WILL RECEIVE A FINAL CALENDAR APPROXIMATELY 6-8 WEEKS IN
ADVANCE OF THE SESSION ASSIGNING A SPECIFIC DATE OF ORAL ARGUMENT.
Please note that after an appeal is assigned to a specific day for oral argument, any change in or
addition to counsel in the appeal requires leave of court. See 11th Cir.R.34-4(e).

If counsel has any insoluble scheduling conflicts which would interfere with argument during that week,
please telephone this office AS SOON AS POSSIBLE at 404-335-6166 or email
Jenifer_Tubbs@ca11.uscourts.gov

                                                           JENIFER TUBBS
                                                           Court Sessions Supervisor
-------------------------------------------------------------------------------------------------------------------------------
PLEASE TELEPHONE THIS OFFICE IMMEDIATELY WITH ANY SCHEDULING REQUESTS.
PLEASE REFER TO CALENDAR #8.

22-12862       Charles Cornelius v. Rollins Ranches, LLC (REVISED ARGUMENT DATE)
22-13311       United States v. Orestes Hernandez (REVISED ARGUMENT DATE)
20-14717       Jackenson Constant v. United States (REVISED ARGUMENT DATE)
22-11543       United States v. William Gross, Jr. (REVISED ARGUMENT DATE)
22-13798       Keith Stansell, et al. v. Samark Bello, et al. (REVISED ARGUMENT DATE)
21-14071 & 21-14074 Compulife Software Inc. v. Moses Newman, et al. (REVISED ARGUMENT
               DATE)
19-15168, 20-11137 & 21-13593             United States v. Byramji Javat, et al.
22-11675       Maria Montefu Acosta v. Miami-Dade County, et al.
21-11565       Sean Reilly v. Secretary, Department of Corrections
22-13763       Sara Watts v. Joggers Run Property Owners Association, Inc.
22-10811       ECB USA, Inc., et al. v. Chubb Insurance Company of New Jersey, et al.
22-12366       Eric Romano, et al. v. John Hancock Life Insurance Company (USA)
22-14057       Purpose Built Families Foundation, Inc. v. United States, et al.
23-11349       United States v. Haitham Alhindi
